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Counsel for the Reorganized Debtor

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                §
 In re:                                                         § Chapter 11
                                                                §
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           § Case No. 19-34054-sgj11
                                                                §
                             Reorganized Debtor.                §

                            APPELLEE’S AMENDED
                SUPPLEMENTAL DESIGNATION OF RECORD ON APPEAL

          Highland Capital Management, L.P. (“Appellee”), pursuant to Rule 8009(a)(2) of the

Federal Rules of Bankruptcy Procedure, hereby submits its amended supplemental designation of

items to be included in the record in the appeal filed by The Dugaboy Investment Trust and Get


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



APPELLEE’S AMENDED SUPPLEMENTAL DESIGNATION OF RECORD ON APPEAL                                      PAGE 1 OF 3
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Good Trust (“Appellants”) from the Order Denying Motion to Compel Compliance with

Bankruptcy Rule 2015.3 [Docket No. 2812] entered by the United States Bankruptcy Court for the

Northern District of Texas on September 7, 2021 in the above-styled bankruptcy case (the

“Bankruptcy Case”). Appellee respectfully reserves the right to supplement and/or amend the

record on appeal designated herein.

    I.      Supplemental Items from the Docket in the Bankruptcy Case

         Appellee designates the following additional items from the docket in the Bankruptcy Case,

in addition to the items previously designated by the Appellants:

         Date       Docket No.                                Description
    03/20/21            2073        Transcript Regarding Hearing Held March 19, 2021 re:
                                    Motions/Joinders to Stay Pending Appeal (Transcript Release
                                    Date is June 18, 2021)
    05/14/21            2308        Debtor’s Omnibus Reply in Support of Debtor’s Motion for
                                    Entry of an Order Approving Settlement with UBS Securities
                                    and UBS AG London Branch and Authorizing Actions
                                    Consistent Therewith

         Appellee reserves the right to designate additional items depending on the arguments made

by Appellants on appeal.

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 Dated: October 12, 2021.             PACHULSKI STANG ZIEHL & JONES LLP

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                                      -and-

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